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12 Attorneys for defendant WHOLE FOODS
   MARKET CALIFORNIA, INC.
13

14
                                 UNITED STATES DISTRICT COURT
15
                               NORTHERN DISTRICT OF CALIFORNIA
16
   KAARON WARREN and CHRISTINA                        Case No. 3:21-cv-04577-EMC
17 REED, individually, and on behalf of those
   similarly situated,                                STIPULATON AND [PROPOSED]
18                                                    ORDER REGARDING EXTENSION ON
                   Plaintiff,                         BRIEFING SCHEDULE ON
19                                                    DEFENDANT’S MOTION TO DISMISS
           v.
20
   WHOLE FOODS MARKET CALIFORNIA,
21 INC.

22                Defendant.
23

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28                                                                     Case No. 21-cv-04577-EMC
                               STIPULATION AND [PROPOSED] ORDER REGARDING BRIEFING SCHEDULE
        Case 3:21-cv-04577-EMC Document 38 Filed 12/02/21 Page 2 of 4




 1          Pursuant to Civil Local Rule 6-2, Plaintiffs Kaaron Warren and Christina Reed

 2 (“Plaintiffs”) and Defendant Whole Foods Market California, Inc. (“Defendant”) (collectively, the

 3 “Parties”), by and through their respective counsel of record, hereby stipulate as follows:

 4          WHEREAS, on November 12, 2021 Defendant filed a motion to dismiss the First

 5 Amended Complaint (ECF No. 27) (“Motion”);

 6          WHEREAS, the hearing on the Motion is currently set for January 6, 2022 at 1:30 p.m.;

 7          WHEREAS, the Parties previously stipulated, and the Court so ordered, that the deadline

 8 for Plaintiffs’ opposition was extended from November 28, 2021 to December 3, 2021;

 9          WHEREAS, Plaintiffs need additional time to complete and file their opposition;
10          WHEREAS, the undersigned counsel for the Parties have met and conferred and agreed to

11 the following briefing schedule, contingent upon Court approval, that takes into account

12 intervening holidays and counsel’s schedules:

13                 December 17, 2021 – Plaintiffs shall file their opposition;

14                 January 13, 2022 – Defendant shall file its reply; and

15                 January 27, 2022 at 1:30 p.m. – Hearing on Defendant’s Motion.

16          WHEREAS, the additional time to brief the Motion will not affect any other dates.

17                                                    Respectfully submitted,

18 Dated: December 2, 2021                            REESE LLP
19                                                    By:       /s/ Michael R. Reese
                                                            Michael R. Reese
20                                                    Co- Counsel for Plaintiffs
21                                                    and the proposed class

22 Dated: December 2, 2021
                                                      BLAXTER | BLACKMAN LLP
23
                                                      By:   /s/ Brian R. Blackman
24                                                           Brian R. Blackman

25                                                    Counsel for Defendant

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     STIPULATION AND [PROPOSED] ORDER   CASE NO.: 21-cv-04577-EMC
        Case 3:21-cv-04577-EMC Document 38 Filed 12/02/21 Page 3 of 4




 1                                       [PROPOSED] ORDER

 2          PURSUANT TO STIPULATION, IT IS HEREBY ORDERED THAT:

 3
            -   Plaintiff shall file his opposition to Defendant’s motion to dismiss (ECF No. 27)
 4              (“Motion”) by December 17, 2021;
 5          -   Defendant shall file its reply in support of its Motion by January 13, 2022; and
 6          -   The hearing on Defendant’s Motion is rescheduled from January 6, 2022 to 1:30 p.m.
 7              on January 27, 2022.
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     Dated: December __, 2021
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11
                                                Honorable Edward M. Chen
12                                              United States District Judge

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     STIPULATION AND [PROPOSED] ORDER   CASE NO.: 5:20-CV-05290-EJD
      Case 3:21-cv-04577-EMC Document 38 Filed 12/02/21 Page 4 of 4




 1                              ATTORNEY ATTESTATION

 2   I, Michael R. Reese, am the ECF User whose identification and password are being used to

 3   file this stipulation. In compliance with Local Rule 5-1(i)(3), I hereby attest that the

 4   concurrence in the filing of the document has been obtained from the other signatory.

 5
                                                   By:      /s/ Michael R. Reese
 6

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 8
                                CERTIFICATE OF SERVICE
 9
     I hereby certify that on December 2, 2021, I electronically filed the above document with the
10
     Clerk of the Court using CM/ECF which will send electronic notification of such filing to all
11
     registered counsel.
12

13
                                                    By: /s/ Michael R. Reese
14                                                    Michael R. Reese

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